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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 Soren Stevenson,                                    Court File No. 20-CV-02007 (SRN/TNL)

                  Plaintiff,

             v.                                             STIPULATION FOR A
                                                            PROTECTIVE ORDER
 John Doe 1, acting in his individual
 capacity as a Minneapolis Police Officer;
 John Does 2-6, acting in their individual
 capacities as Minneapolis Police Officers;
 John Does 7-8, acting in their individual
 and official capacities as supervisory
 Minneapolis Police Officers; Medaria
 Arradondo, acting in his official capacity
 as the Minneapolis Chief of Police; and
 the City of Minneapolis,

                  Defendants.


         The parties stipulate that the court may enter the following protective order:

1.       Definitions. As used in this protective order:

         (a)      “attorney” means an attorney who has appeared in this action;

         (b)      “confidential document” means a document designated as confidential

                  under this protective order;

         (c)      to “destroy” electronically stored information means to delete from all

                  databases, applications, and file systems so that the information is not

                  accessible without the use of specialized tools or techniques typically used

                  by a forensic expert;
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         (d)     “document” means information disclosed or produced in discovery,

                 including at a deposition;

         (e)     “notice” or “notify” means written notice;

         (f)     “party” means a party to this action; and

         (g)     “protected document” means a document protected by a privilege or the

                 work-product doctrine.

2.       Designating a Document or Deposition as Confidential.

         (a)     A party or non-party disclosing or producing a document may designate it

                 as confidential if the party or non-party contends that it contains

                 confidential or proprietary information, which includes but is not limited to

                 medical, and financial, or “not public data” under the Minnesota

                 Government Data Practices Act (“MGDPA”) (see definition of “not public

                 data” in Minn. Stat. § 13.02, subd. 8a.), including Minneapolis Police

                 Department personnel files, internal affairs records, civilian review

                 authority records, office of police conduct review records, police reports

                 and statements, and body worn camera video footage.

         (b)     A party or non-party may designate a document as confidential by

                 conspicuously marking each page with the word “confidential.”

         (c)     All extracts and summaries of documents designated confidential shall be

                 treated as protected in accordance with the provisions of this stipulation and

                 resulting Protective Order.

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         (d)     The following private personnel data on government employees will not be

                 produced in this action without a specific court order or agreement by the

                 parties: home addresses, home telephone numbers, drivers’ license numbers,

                 medical and psychological data, dates of birth, Social Security numbers, and

                 any information relating to employees’ family members or familial

                 relationships. Defendants do not waive any Minnesota Government Data

                 Practices Act objections to the production of any other private personnel data

                 not specified above. See Minn. Stat. § 13.43.

         (e)     If properly requested through discovery, Plaintiff agrees to execute any

                 necessary releases for Defendants to obtain relevant documents and

                 information, including but not limited to, medical records, employment

                 records, income tax records, and cell-phone records, directly from the

                 appropriate entity that has possession of the documents and information.

                 Such documents will be treated as confidential by the recipient and shall be

                 so marked upon production to Plaintiff. The parties do not waive any

                 objections to providing a release requested in discovery.

         (f)     Deposition testimony may be designated as confidential:

                 (1)    on the record at the deposition; or

                 (2)    after the deposition, by notifying the parties and those who were

                 present at the deposition within 30 days of the transcript being made

                 available. All persons with copies of the deposition transcript shall then

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                 mark the confidential portions of the deposition as confidential. Until the

                 30-day period has expired, all deposition testimony and transcripts shall be

                 treated as confidential.

         (g)     If a witness is expected to testify as to confidential or proprietary

                 information, a party or non-party may request that the witness’s deposition

                 be taken in the presence of only those persons entitled to receive

                 confidential documents.

3.       Who May Receive a Confidential Document.

         (a)     A confidential document may be used only in this action. It is expressly

                 agreed that confidential documents received in the course of this action may

                 not be used for any purpose or advantage other than the above-captioned

                 action.

         (b)     No person receiving a confidential document may reveal it or disclose the

                 contents of that document, except to:

                 (1)       the court and its staff;

                 (2)       an attorney or an attorney’s partner, associate, or staff, who is

                           assisting in the above-captioned action;

                 (3)       a person shown on the face of the confidential document to have

                           authored or received it;

                 (4)       a court reporter or videographer retained in connection with any

                           deposition in this action;

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                 (5)   a party;

                 (6)   employees, agents, or volunteers of the Minneapolis City Attorney’s

                       Office, who are assisting in the above-entitled action;

                 (7)   elected or appointed officials, management-level employees of the

                       City of Minneapolis, and any other employee of the City of

                       Minneapolis required to obtain or facilitate settlement authority; and

                 (8)   any person who:

                       (A)    is retained to assist a party or attorney with the above-entitled

                              action; and

                       (B)    signs a declaration that contains the person’s name, address,

                              employer, and title, and that is in substantially this form:

                                     I have read, and agree to be bound by, the protective
                              order in the case captioned Soren Stevenson v. John Doe 1, et
                              al., Case No. 20-cv-02007 (SRN/TNL) in the United States
                              District Court for the District of Minnesota. As soon as my
                              work in connection with that action has ended, but not later
                              than 30 days after the termination of that action (including
                              any appeals), I will return or destroy any confidential
                              document that I received, any copy of or excerpt from a
                              confidential document, and any notes or other document that
                              contains information from a confidential document.
                                     I declare under penalty of perjury that the foregoing is
                              true and correct.

                        The name and case number may be removed from this declaration
                        and the protective order in the case of mock jury members who are
                        retained to help evaluate the case.

                 (9)   A party may supplement the “confidential” mark (see paragraph 3)


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                        with the words “attorney’s eyes only” for information, documents or

                        portions of documents that they believe in good faith are extremely

                        sensitive such that disclosure to another party would create a

                        substantial risk of harm that could not be avoided by less restrictive

                        means, including, information or documents that would, by disclosure

                        to another party, compromise an ongoing criminal investigation. In

                        such a case, the confidential information or document so designated

                        as “attorney’s eyes only” may not be revealed to another party, unless

                        that party is a person described in paragraph 3(b)(7). The parties do

                        not waive the right to challenge the appropriateness of information or

                        documents designated as “attorney’s eyes only”.


         (c)     If a confidential document is revealed to someone not entitled to receive it,

                 the parties must make reasonable efforts to retrieve it and notify the

                 producing party.

4.       Subpoenas

         (a)     A party serving a subpoena on a non-party must simultaneously (1) notify

                 the opposing party and (2) serve a copy of this protective order and of

                 Local Rule 5.6 on the subpoena recipient.

         (b)     If a party receives a subpoena or other court process that arguably calls for

                 the production of confidential documents, that party shall give the other party


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                 written notice of the subpoena or court process and at least ten (10) days’

                 notice before producing any such confidential documents.

         (c)     A party serving a subpoena on a non-party must produce any documents

                 received pursuant to the subpoena to the opposing party within ten (10)

                 business days.

5.       Correcting an Error in Designation.

         (a)     A party or non-party who discloses or produces a confidential document not

                 designated as confidential may, within 7 days after discovering the error,

                 provide notice of the error and produce a copy of the document designated

                 as confidential.

         (b)     Any party receiving such improperly-designated documents shall make

                 reasonable efforts to retrieve any copies they have distributed of such

                 documents and, upon receipt of the substitute documents, shall return or

                 destroy the improperly-designated documents.

6.       Use of a Confidential Document in Court or Deposition.

         (a)     Filing.   While this protective order does not authorize the filing of any

                 document under seal, if confidential documents, including confidential

                 portions of deposition transcripts, are to be included in any papers to be filed

                 in the Court, the parties shall either (1) redact the confidential information

                 from the document before filing; or (2) if the confidential information is

                 necessary to the filing then to file the document under temporary seal and

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                 follow the procedure in Local Rule 5.6. Documents filed under seal shall

                 remain under temporary seal in accordance with Local Rule 5.6 until further

                 action of the Court pursuant to Local Rule 5.6.

         (b)     Nothing contained in this Stipulation and the resulting Protective Order

                 shall preclude a party from showing any confidential documents to any third-

                 party witnesses, either during a deposition or a trial, provided that:

                 1. The actual or potential witness may not be given a copy of any confidential

                 documents to take with him or her;

                 2. The actual or potential witness shall be provided a copy of the resulting

                 protective order and be advised that it is applicable to him, her, or them. The

                 actual or potential witness and his, her, or their attorney shall be informed

                 that they are bound by the resulting protective order, requiring that

                 confidential documents be held in confidence and shall not disclose the

                 confidential documents to anyone except as allowed under the terms of this

                 Stipulation and resulting protective order. The witness must agree on the

                 record to abide by such terms or must sign the affirmation in paragraph

                 3(b)(8)(B);

                 3. If the witness refuses to abide by the terms of the Protective Order and the

                 party providing the confidential documents refuses to withdraw its assertion

                 of confidentiality, the party seeking to use the confidential documents shall

                 have the right to suspend the deposition and bring a motion before the Court

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                 seeking a ruling on the issue. The parties agree that the confidential

                 documents in question shall not be used during the deposition pending a

                 ruling from the Court; and

                 4. Nothing in this Stipulation and resulting protective order shall be deemed

                 to waive a party’s right to object to the presentation of confidential

                 documents to third-party witnesses, or their right to seek relief from the Court

                 before the confidential documents are presented to third-party witnesses.

         (c)     In the event that any confidential documents are presented during a

                 deposition or shown to a non-party or third-party witness, such documents or

                 information shall not lose their confidential, non-public, or private status

                 through such use.

         (d)     Presentation at a hearing or trial.

                 1. A party intending to present another party’s or a non-party’s confidential

                 document, or information contained therein, at a hearing must notify and

                 confer with the other party or the non-party at least 7 days before the

                 hearing regarding what information will be presented so that the other party

                 or the non-party may seek relief from the court if necessary.

                 2. A party intending to present a party or a non-party’s confidential

                 document at trial must notify the party or non-party simultaneously with the

                 filing of exhibit lists for trial so that the party or non-party may seek relief

                 from the court if necessary.

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         (e)      Nothing herein shall be construed to affect in any way any party’s right to

         object to the admissibility of any document, information, testimony or other

         evidence at trial.

7.       Changing a Confidential Document’s Designation.

         (a)      Document disclosed or produced by a party. A confidential document

                  disclosed or produced by a party remains confidential unless the parties

                  agree to change its designation or the court orders otherwise.

         (b)      Document produced by a non-party. A confidential document produced by

                  a non-party remains confidential unless the non-party agrees to change its

                  designation or the court orders otherwise after providing an opportunity for

                  the non-party to be heard.

         (c)      Changing a designation by court order. A party who cannot obtain agreement

                  to change a designation may move the court for an order changing the

                  designation. If the motion affects a document produced by a non-party then,

                  with respect to the motion, that non-party is entitled to the same notice and

                  opportunity to be heard as a party. The party or non-party who designated a

                  document as confidential must show that the designation satisfies Fed. R.

                  Civ. P. 26(c).

8.       Handling a Confidential Document after Termination of Litigation.

         (a)      Within 60 days after the termination of this action (including any appeals),

                  each party must:

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                  (1)    return or destroy all confidential documents (and copies thereof); and

                  (2)    notify the disclosing or producing party that it has returned or

                         destroyed all confidential documents (and copies thereof) within the

                         60-day period.

         (b)      Notwithstanding paragraph 8(a), each attorney may retain a copy of any

                  confidential document submitted to the court.

         (c)      No retained confidential documents or internal memoranda or notes

                  discussing a confidential document may be disclosed or used for any other

                  purpose other than for this action.

9.       Inadvertent Disclosure or Production to a Party of a Protected Document.

         (a)      Notice.

                  (1)    A party or non-party who discovers that it has inadvertently disclosed

                         or produced a protected document must promptly notify the receiving

                         party and describe the basis of the claim of privilege or protection. If

                         the party or non-party provides such notice and description, the

                         privilege or protection is not waived.

                  (2)    A party who discovers that it may have received an inadvertently

                         disclosed or produced protected document must promptly notify the

                         disclosing or producing party or non-party.




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         (b)      Handling of Protected Document. A party who is notified or discovers that it

                  may have received a protected document must comply with Fed. R. Civ. P.

                  26(b)(5)(B).

10.      Security Precautions and Data Breaches.

         (a)      Each party must make reasonable efforts to protect the confidentiality of any

                  confidential document disclosed or produced to that party.

         (b)      A party who learns of a breach of confidentiality must promptly notify the

                  disclosing or producing party of the scope and nature of that breach and make

                  reasonable efforts to remedy the breach.

11.      General provisions.

         (a)      The designation of any document, information, or thing as a confidential

                  document under this Stipulation is for purposes of the resulting Protective

                  Order only and shall not be used for the purpose of interpreting other legal

                  or substantive issued raised in this action apart from the application of the

                  resulting Protective Order.

         (b)      Any party may move the Court for a modification of the resulting Protective

                  Order, and nothing in the Protective Order shall be construed to prevent a

                  party from seeking such further provision enhancing or limiting

                  confidentiality as may be appropriate.




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         (c)      No action taken in accordance with the resulting Protective Order shall be

                  construed as a waiver of any claim or defense in the action or of any position

                  as to discoverability or admissibility of evidence.

         (d).     The obligations imposed by the resulting Protective Order survive the

                  termination of this action.

Dated: April 29, 2021                           ROBINS KAPLAN LLP

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                                         Attorneys for Defendants City of Minneapolis
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                                         official capacity




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